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 2   San Clemente, CA 92672
     949-481-4900
 3   Fax: (949) 496-6753
 4   Attorney for Defendant
     MIACHAEL J. AVENATTI
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 7
                               UNITED STATES DISTRICT COURT
 8
                              CENTRAL DISTRICT OF CALIFORNIA
 9
10   UNITED STATES,                                Case No. SA-CR-19-61-JVS
11               Plaintiff,                        EX PARTE APPLICATION FOR
12         vs.                                     APPROVAL OF ATTORNEY
                                                   MINDERS FOR DEFENDANT FROM
13   MICHAEL J. AVENATTI                           MCC NEW YORK TO HOME OF
14         Defendant.                              THIRD-PARTY CUSTODIAN IN
                                                   VENICE, CALIFORNIA;
15                                                 DECLARATION OF COUNSEL;
16                                                 [Proposed] ORDER

17
18
           Comes now counsel for defendant Michael J. Avenatti and seeks approval of the
19
20   Court for three attorney minders for defendant’s trip from MCC New York to the

21   third-party surety’s home in Venice, California. All three attorneys are counsel of
22
     record in a current legal proceeding involving defendant. Details are contained in the
23
24   attached declaration of counsel, including comments from government counsel.
25   Dated: 4-13-20             /s./ H. Dean Steward
26
                                H. Dean Steward
27                              Counsel for Defendant
28                              Michael J. Avenatti

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 1   I. Background
 2         On April 10, 2020, this Court issued an order allowing the release of the
 3   defendant from custody, pre-trial, under a number of conditions. The condition at §9,
 4   p. 3 requires the defendant to be accompanied from the MCC in New York City to the
 5   home of the third-party custodian by, “H. Dean Steward, or another individual
 6   expressly authorized by this Court…”. The defense proposes a team of three attorneys,
 7   all of whom are officers of the court, and all of whom represent the defendant in
 8   current litigation. (Please see attached declaration).
 9
10   II. Proposed Trip and Minders
11         Details on the three attorney minders are contained in the declaration below. The
12   defense proposes, upon release of the defendant from the MCC in New York City, that
13   attorney Mariel Colon shall accompany Mr. Avenatti to one of the three local New
14   York City airports, (JFK, La Guardia or Newark), depending on which has airport has
15   the flight most expeditious to get Mr. Avenatti to Los Angeles. The defense will, of
16   course, provide Pre-Trial Services with a detailed itinerary at least 24 hours in advance
17   of travel, per §9 of the Court’s order.
18         At the airport, attorney Douglas Hatherley will meet the defendant and attorney
19   Colon, board the flight to California with Mr. Avenatti, and accompany him to LAX
20   airport. At LAX, the undersigned will meet Mr. Avenatti and Mr. Hatherley and then
21   transport Mr. Avenatti to the third-party custodian’s home in Venice, California.
22
23   III. Government Comments
24         The undersigned counsel contacted government counsel on April 10, 2020.
25   Government counsel asked that the following verbiage be included in this application:
26
27         The government does not object to defendant’s attorneys, Mariel Colon and
28         Douglas Hatherley, assisting with the transportation of defendant from the
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 1         Metropolitan Correctional Center in New York to the residence of the proposed
 2         third-party custodian, Jay Manheimer. However, since neither Ms. Colon nor
 3         Mr. Hatherley are counsel of record in this case, the government believes Ms.
 4         Colon and Mr. Hatherley should each be required to sign and file with this Court
 5         an Affidavit of Third-Party Custodian (Form CR-31) or a similar document
 6         acknowledging their responsibility to transport defendant and ensure he
 7         complies with all conditions of his temporary release during the transport.
 8         Having Ms. Colon and Mr. Hatherley sign this affidavit or a similar document to
 9         be filed with this Court, will ensure that Ms. Colon and Mr. Hatherley are
10         subject to this Court’s jurisdiction if they fail to comply with the Court’s order.
11
12   The defense objects to this suggestion as unnecessary. Each attorney is an officer of
13   the court, and such further form signature is unneeded.
14
15   IV. Conclusion
16         For the reasons above, the defense asks the Court to approve the three attorneys
17   set out above as minders for the entire trip across country. Each attorney is an officer
18   of the court, and each represents Mr. Avenatti in civil or criminal litigation.
19   Dated: 4-13-20                 /s./ H. Dean Steward
20                                    H. Dean Steward
                                      Counsel for Defendant
21                                    Michael J. Avenatti
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 1
 2   Declaration of Counsel
 3
 4   I, H. Dean Steward, declare:
 5
 6   I am retained counsel for defendant Michael J. Avenatti in the above captioned case. I
 7   make this declaration in support of his seeking approval for three attorney minders to
 8   transport him from the MCC in New York City to Venice, California, to the third party
 9   custodial in this case.
10   1. Attorney Mariel Colon- Ms. Colon is a member of the New York state bar
11   (#5612247) and is co-counsel on the Nike case in the Southern District of New York
12   U.S. v. Avenatti #CR-19-373-PG. Her proposed role would be to transport Mr.
13   Avenatti from the MCC in New York City to a nearby airport.
14   2. Attorney Douglas Hatherley- Mr. Hatherley is a member of the California state bar,
15   (#265230). He is a member of the firm of Stegmeir, Gelbart et. al. who represent Mr.
16   Avenatti in Marriage of Avenatti 17-D 00-99-30 (divorce action). Mr. Hatherly has
17   personally worked on the divorce case and is acquainted with the defendant.
18   3. H. Dean Steward, undersigned counsel, a member of the bars of the states of
19   California and Hawaii (# 85317 & 4026)l- suggested by the Court at §9 to accompany
20   the defendant, counsel of record in this case and federal court practitioner for 41 years.
21   4. Due to the coronavirus outbreak, it was extremely difficult to locate attorneys
22   willing and able to assist in this travel.
23
24   I declare under penalty of perjury that the foregoing is true and correct.
25
26   Dated: 4-13-20                    /s./ H. Dean Steward
27                                             H. Dean Steward
                                               Counsel for Defendant
28                                             Michael J. Avenatti
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 1   CERTIFICATE OF SERVICE
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 3
 4   IT IS HEREBY CERTIFIED THAT:
 5
     I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of age.
 6
 7   My business address is 107 Avenida Miramar, Ste. C, San Clemente, CA 92672.

 8            I am not a party to the above entitled action. I have caused, on 4-13-20, service
 9
     of the defendant’s:
10
11   EX PARTE SEEKING PERMISSION FOR ATTORNEY MINDERS

12   On the following parties electronically by filing the foregoing with the Clerk of the
13
     District Court using its ECF system, which electronically notifies counsel for that
14
15   party.
16   AUSA BRETT SAGEL AND JULIAN ANDRE
17
     AND PRE-TRIAL SERVICES OFFICER SHAKIRA DAVIS BY EMAIL
18
19
20   I declare under penalty of perjury that the foregoing is true and correct.
21
     Executed on 4-13-20
22
23   s/ H. Dean Steward
24   H. Dean Steward
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